                               Case 2:24-cv-00881-EJY Document 25 Filed 07/24/24 Page 1 of 3



                      1   BRADLEY J. HAMBURGER (pro hac vice)
                          MEGAN M. COONEY (pro hac vice)
                      2   GIBSON, DUNN & CRUTCHER LLP
                          333 South Grand Avenue
                      3   Los Angeles, CA 90071-3197
                          Telephone: 213.229.7000
                      4   Email: bhamburger@gibsondunn.com
                          Email: mcooney@gibsondunn.com
                      5

                      6   Montgomery Y. Paek, Esq.
                          Bar No. 6323
                      7   Amy L. Thompson, Esq.
                          Bar No. 11907
                      8   LITTLER MENDELSON, P.C.
                          3960 Howard Hughes Parkway
                      9   Suite 300
                          Las Vegas, Nevada 89169
                     10   Telephone:    702.862.8800
                          Fax No.:      702.862.8811
                     11   Email:        mpaek@littler.com
                                        athompson@littler.com
                     12
                          Attorneys for Defendant
                     13   AMAZON.COM SERVICES LLC
                     14
                                                         UNITED STATES DISTRICT COURT
                     15                                       DISTRICT OF NEVADA
                     16   JASMINE SOLARES, ESTEFANIA CORREA                  Case No. 2:24-CV-00881-EJY
                          RESTREPO, and STEVEN REID,
                     17
                                           Plaintiffs,                       STIPULATION AND PROPOSED
                     18                                                      ORDER TO EXTEND BRIEFING
                          v.                                                 DEADLINES
                     19
                          AMAZON.COM SERVICES LLC,                           (SECOND REQUEST)
                     20
                                           Defendant.
                     21

                     22
                                  Plaintiffs JASMINE SOLARES, ESTEFANIA CORREA RESTREPO, and STEVEN
                     23
                          REID (“Plaintiffs”) and Defendant AMAZON.COM SERVICES LLC (“Defendant”), by and
                     24
                          through their undersigned counsel, hereby agree and stipulate as follows:
                     25
                                  WHEREAS, on July 5, 2024, Defendant filed a Motion to Dismiss and/or Stay the Case
                     26
                          (Dkt. No. 15);
                     27
                                  WHEREAS, on July 8, 2024, Plaintiffs filed a Motion for Circulation of Notice of the
      LITTLER        28
 MENDELSON, P.C.
3960 Howard Hughes
      Parkway
     Suite 300
   Las Vegas, NV
    89169.5937
   702.862.8800
                             Case 2:24-cv-00881-EJY Document 25 Filed 07/24/24 Page 2 of 3



                      1   Pendency of this Action Pursuant to 29 U.S.C. § 216(b) (Dkt. No. 17);
                      2           WHEREAS, on July 12, 2024, the Parties filed a stipulation and proposed order to extend
                      3   Plaintiffs’ deadline to respond to Defendant’s Motion to Dismiss (Dkt. No. 15) and Defendant’s
                      4   deadline to respond to Plaintiffs’ Motion for Circulation of Notice (Dkt. No. 18) until July 31, 2024;
                      5           WHEREAS, on July 12, 2024, the Parties filed a stipulation and proposed order to extend
                      6   Defendant’s deadline to reply in support of its Motion to Dismiss and Plaintiffs’ reply in support
                      7   of their Motion for Circulation of Notice until August 14, 2024;
                      8           WHEREAS, on July 12, 2024, the Court granted the Parties’ stipulation, moving the
                      9   deadline to file their respective responses until July 31, 2024, and their respective replies until
                     10   August 14, 2024 (Dkt. No. 22);
                     11           WHEREAS, Plaintiffs filed a First Amended Complaint on July 22, 2024 (Dkt. No. 23);
                     12           WHEREAS, the Parties agree that Defendant’s Motion to Dismiss and Plaintiffs’ Motion
                     13   for Circulation of Notice both apply to the First Amended Complaint and are not mooted by the
                     14   filing of the First Amended Complaint;
                     15           WHEREAS, the Parties have conferred and agree that alteration of the current briefing
                     16   schedule on both motions will ensure that the Parties will have sufficient time to analyze and brief
                     17   the issues for the Court without unduly delaying the resolution of the motions.
                     18           THEREFORE, subject to the approval of the Court, the Parties hereby agree and stipulate
                     19   that:
                     20           1. Defendant’s Motion to Dismiss and Plaintiffs’ Motion for Circulation of Notice both
                     21              apply to Plaintiffs’ First Amended Complaint and are not moot;
                     22           2. Plaintiffs shall file their response to Defendant’s Motion to Dismiss and Defendant shall
                     23              file its response to Plaintiffs’ Motion for Circulation of Notice on or before August 14,
                     24              2024; and
                     25           3. Defendant shall file its reply in support of its Motion to Dismiss and Plaintiffs shall file
                     26              their reply in support of their Motion for Circulation of Notice on or before August 28,
                     27              2024.

      LITTLER        28           This is the second request for extension of time with respect to the Parties’ briefing schedule
 MENDELSON, P.C.
3960 Howard Hughes
      Parkway
     Suite 300
                                                                            2
   Las Vegas, NV
    89169.5937
   702.862.8800
                              Case 2:24-cv-00881-EJY Document 25 Filed 07/24/24 Page 3 of 3



                      1   on Defendant’s Motion to Dismiss and Plaintiffs’ Motion for Circulation of Notice. This request
                      2   is made in good faith and not for the purpose of delay.
                      3
                          Dated: July 24, 2024
                      4

                      5

                      6 /s/ Leon Greenberg, Esq.          /s/ Amy L. Thompson, Esq.
                        LEON GREENBERG, ESQ.              MONTGOMERY Y. PAEK, ESQ.
                      7 RUTHANN DEVEREAUX-GONZALES, ESQ. AMY L. THOMPSON, ESQ.
                        LEON GREENBERG PROFESSIONAL       LITTLER MENDELSON, P.C.
                      8 CORPORATION
                                                          BRADLEY J. HAMBURGER, ESQ.
                      9 JAMES P. KEMP, ESQ.
                                                          MEGAN COONEY, ESQ.
                     10 KEMP    & KEMP,  ATTORNEYS AT LAW GIBSON DUNN

                     11 Attorneys for Plaintiff                             Attorneys for Defendant
                        JASMINE SOLARES and ESTEFANIA                       AMAZON.COM SERVICES LLC
                     12 CORREA

                     13
                                                                       IT IS SO ORDERED.
                     14
                                                                       Dated: July 24, 2024
                     15

                     16
                                                                       _____________________________________
                     17                                                UNITED STATES MAGISTRATE JUDGE

                     18

                     19

                     20

                     21

                     22

                     23

                     24

                     25

                     26

                     27

      LITTLER        28
 MENDELSON, P.C.
3960 Howard Hughes
      Parkway
     Suite 300
                                                                           3
   Las Vegas, NV
    89169.5937
   702.862.8800
